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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NORTH DAKOTA
                           SOUTHEASTERN DIVISION

UNITED STATES OF AMERICA,               )   SUPERSEDING
                                        )   I N D I C T M E NT
                                        )
      v.                                )   Case No. 3:12-cr-91
                                        )
                                        )   Violation: 21 U.S.C. § 846
BRODRICK JAMAR JENKINS,                 )
a/k/a LB;                               )
STEPHANIE BUCHANAN;                     )
THERESA MARIE OTIS;                     )
HERMAN CARLOS EDWARDS,                  )
a/k/a HERK;                             )
ARDELL LEVERT JENKINS;                  )
MARVALE XAVIER MURPHY,                  )
a/k/a GULLY;                            )
MARDALE DESHAUN JOHNSON;                )
AMBER NICOLE LOCKWOOD;                  )
KENNETH ERNEST HENDERSON;               )
KARIN ILENE CONDON;                     )
TERRY ALLAN TURNER;                     )
JACK PARCHMAN, a/k/a DIRTY,             )
a/k/a JP;                               )
KIRBY DUANE MCLAREN;                    )
BUD DELAVIEGA FONTES;                   )
KEITH ALLEN KREPS; and                  )
CLARENCE LEE ANDERSON                   )

Conspiracy to Possess with Intent to Distribute and Distribute Controlled Substances

The Grand Jury Charges:

      From on or about April 1, 2011, and continuously until the date of this Indictment,

in the Districts of North Dakota, Minnesota, and elsewhere,

                   BRODRICK JAMAR JENKINS, a/k/a LB;
                         STEPHANIE BUCHANAN;
                          THERESA MARIE OTIS;
                   HERMAN CARLOS EDWARDS, a/k/a HERK;
                        ARDELL LEVERT JENKINS;
                   MARVALE XAVIER MURPHY, a/k/a GULLY;
                      MARDALE DESHAUN JOHNSON;
                        AMBER NICOLE LOCKWOOD;
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                        KENNETH ERNEST HENDERSON;
                             KARIN ILENE CONDON;
                            TERRY ALLAN TURNER;
                      JACK PARCHMAN, a/k/a DIRTY, a/k/a JP;
                           KIRBY DUANE MCLAREN;
                           BUD DELAVIEGA FONTES;
                            KEITH ALLEN KREPS; and
                          CLARENCE LEE ANDERSON

did knowingly and intentionally combine, conspire, confederate, and agree together and

with others, both known and unknown to the grand jury, to possess with intent to

distribute and distribute in excess of 280 grams of a mixture and substance containing a

detectable amount of cocaine base (crack cocaine), a Schedule II controlled substance; a

mixture and substance containing a detectable amount of cocaine, a Schedule II

controlled substance; and a mixture and substance containing a detectable amount of

heroin, a Schedule I controlled substance, in violation of Title 21, United States Code,

Section 841(a)(1), and Title 18, United States Code, Section 2.

                                        Overt Acts

       In furtherance of this conspiracy and to effect and accomplish the objects of it, one

or more of the conspirators committed the following overt acts:

       1. It was a part of said conspiracy that the defendants and others would and

did possess with intent to distribute and did distribute in excess of 280 grams of a mixture

and substance containing a detectable amount of cocaine base (crack cocaine), a

Schedule II controlled substance, within the states of North Dakota, Minnesota, and

elsewhere;

       2. It was further a part of said conspiracy that the defendants and others would

and did possess with intent to distribute and did distribute a mixture and substance
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containing a detectable amount of cocaine, a Schedule II controlled substance, and a

mixture and substance containing a detectable amount of heroin, a Schedule I controlled

substance, within the states of North Dakota, Minnesota, and elsewhere;

       3. It was further a part of said conspiracy that the defendants and others would

and did attempt to conceal their activities;

       4. It was further a part of said conspiracy that the defendants and others would

and did use telecommunication facilities; and

       5. It was further a part of said conspiracy that the defendants and others would

and did use United States currency in their drug transactions;

       In violation of Title 21, United States Code, Section 846; Pinkerton v. United

States, 328 U.S. 640 (1946).

                                           A TRUE BILL:


                                           /s/ Grand Jury Foreperson
                                           Foreperson

/s/ Timothy Q. Purdon
TIMOTHY Q. PURDON
United States Attorney

BMS:ld




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